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 1   Rick Hoffman
     FEDERAL DEFENDERS OF EASTERN WASHINGTON AND IDAHO
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 3   (509) 248-8920

 4   Attorneys for Defendant
     KENNETH ROWELL
 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
                            (HONORABLE WM. FREMMING NIELSEN)
 7
     UNITED STATES OF AMERICA,                    )
 8                                                )      CR-13-6070-WFN
               Plaintiff,                         )
 9                                                )      MOTION TO REOPEN DETENTION
       vs.                                        )      HEARING TO RECONSIDER
10                                                )      CONDITIONS OF RELEASE
     KENNETH ROWELL,                              )
11                                                )      BEFORE JUDGE HUTTON
                                                  )
12             Defendant.                         )      December 18, 2013
                                                  )      2:00 p.m., Yakima, WA
13                                                )      With Oral Argument

14   TO:     MICHAEL C. ORMSBY, UNITED STATES ATTORNEY
             ALEXANDER C. EKSTROM, ASSISTANT UNITED STATES ATTORNEY
15
             COMES NOW the defendant, KENNETH ROWELL, and moves the
16
     court for an order to reopen the detention hearing to reconsider his
17

18   conditions of release pending trial.

19           Defendant, Kenneth Rowell has previously had a detention hearing, on
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     December 9, 2013, at which time the Court ordered defendant’s continued
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     detention. At that time, the defense did not have a formal release plan for
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23           MOTION TO REOPEN DETENTION
             HEARING TO RECONSIDER CONDITIONS
24           OF RELEASE

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     the Court’s consideration and believes that a plan has now been formulated

 2   such that the Court should reconsider the defendants release on conditions.

 3        Mr. Rowell would propose that he be released to live at his parents
 4
     residence, 4709 Hilltop Drive, Pasco, Washington. Mr. Rowell’s parents have
 5
     confirmed that he can live there and that they would comply with any
 6
     conditions imposed by the Court, including providing transportation to and
 7

 8
     from court and attorney visits, as required. In addition, Mr. Rowell has been

 9   offered employment with his father’s business, H A Rowell Auctioneering.

10   As such, Mr. Rowell would be under the direct supervision of his father,
11
     Harold Rowell, who has indicated that he would comply with any condition
12
     regarding employment as imposed by the Court. Both of Mr. Rowell’s
13
     parents have indicated that they would notify the court and/or probation if
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15
     Mr. Rowell was unable or unwilling to comply with any condition imposed

16   upon him by the Court.

17        In addition to residential and employment conditions as proposed
18
     above, Mr. Rowell is willing to comply with additional conditions, if imposed,
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     such as electric monitoring and treatment requirements.
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          Mr. Rowell suggests that there are conditions that could be imposed by
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22
     the Court to insure that he remain in the Eastern District of Washington and

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          HEARING TO RECONSIDER CONDITIONS
24        OF RELEASE

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 1
     attend all court proceedings and also would insure the safety of the

 2   community. Therefore, Mr. Rowell requests that the Court reconsider his

 3   release status.
 4
          DATED:       December 13, 2013.
 5
                                 Respectfully Submitted,
 6

 7                               s/Rick L. Hoffman
 8
                                 Rick L. Hoffman, 9478
                                 Attorney for KENNETH ROWELL
 9                               Federal Defenders of Eastern
                                 Washington and Idaho
10                               306 East Chestnut Avenue
                                 Yakima, Washington 98901
11
                                 (509) 248-8920
12                               Rick_Hoffman@fd.org

13
                                 CERTIFICATE OF SERVICE
14

15
          I hereby certify that on December 13, 2013, I electronically filed the
16
     foregoing with the Clerk of the Court using the CM/ECF System which will
17
     send notification of such filing to the following: ALEXANDER C. EKSTROM,
18

19   Assistant United States Attorney.

20

21                               s/Rick L. Hoffman
22

23        MOTION TO REOPEN DETENTION
          HEARING TO RECONSIDER CONDITIONS
24        OF RELEASE

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